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                       UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION


   “Baby L.,” a minor, et al.,

                     Plaintiffs,
                                                                Civil Action No. 3:20-cv-9
   v.

   Dr. MARK ESPER, in his official capacity as                  FILED UNDER SEAL
         Secretary for the U.S. Department of Defense
         et al.,

                     Defendants.


                                     PROPOSED ORDER

         Before the Court are the issues of sealing the entire record in this matter, or sealing

  some information and redacting other information in the record to secure various interests,

  including the privacy interests of Plaintiffs and the national security interests of the United

  States. Counsel for the parties have agreed upon proposed redactions of certain documents

  and exhibits, memorialized in the parties’ Joint Submission of Proposed Redactions.

         Plaintiffs DOE 1 and DOE 2, a married couple, filed this action and their request

  for a TRO, initially under seal, on February 26, 2020, seeking emergency relief to prevent

  the U.S. Department of Defense from handing over “Baby L,” an orphaned infant child

  who had been found by U.S. forces during a military operation in a foreign country and

  had then received medical care at a U.S. military hospital in that country, to the government

  of that country.

         Plaintiffs described urgent time considerations in that the U.S. Government planned

  to transport Baby L from the military hospital the next morning, February 27, 2020.
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  Following plaintiffs’ 1:00 p.m. filing, the Court convened a sealed telephonic hearing at

  3:30 p.m. that afternoon. Attorneys for the Government appeared and represented the

  interests of the United States. After the hearing, the Court issued an oral ruling denying the

  TRO, a redacted transcript of which shall be placed in the public record as set forth below.

         The U.S. Government handed Baby L over to the representatives of the government

  of the foreign country on the morning of February 27, 2020, and the case became moot for

  purposes of the relief requested by Plaintiffs DOE 1 and DOE 2.

         Plaintiffs DOE 1 and DOE 2 filed a response to this Court’s Order for Further

  Briefing on the Motion to Seal and to Proceed under Pseudonyms on March 11, 2020, and

  filed a Notice of Voluntary Dismissal later that same day. Public notice of the request to

  seal has continued since the Motion to Seal was filed on February 27, 2020.

         Having reviewed Defendants’ Supplemental Response to Plaintiffs’ Motion

  for Leave to Proceed Using Pseudonyms and Motion to Seal and the parties’ Joint

  Submission of Proposed Redactions, and in light of the entire record herein, it is

  hereby ORDERED that Plaintiffs’ Motion is granted in part and denied in part, as

  follows: Plaintiffs motion to proceed using pseudonyms is GRANTED.

         I have considered less drastic alternatives to redacting the filings and

  proceedings. However, the interests of national security and the privacy and

  physical security rights of the minor child plaintiff and innocent third parties can

  only be preserved through the proposed redactions. In accordance with the parties’

  agreement as reflected in the Joint Submission of Proposed Redactions, it is hereby

  ORDERED that the seals on sealed filings on the docket to date are resolved as

  follows:
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             ECF No. 4 exhibits A, B, C, D, G, K, P, X (ECF Nos. 4-1, 4-2, 4-3,

               4-4, 4-7, 4-11, 4-16, and 4-24) shall remain SEALED.

             The redacted versions of ECF Nos. 1, 4 & exhibits E, F, H, I, J, L, M,

               N, O, W (ECF Nos. 4 (only), 4-6, 4-8, 4-9, 4-10, 4-12, 4-13, 4-14, 4-

               15, and 4-23), 5, 6, 10, 11, 13, 14, and 21 that were submitted with the

               parties’ Joint Submission of Proposed Redactions are APPROVED,

               and the Clerk is directed to file these redacted versions on the public

               docket.

             The Clerk is directed to unseal exhibits Q, R, S, T, U, V of ECF No.

               4 (ECF Nos. 4-17, 4-18, 4-19, 4-20, 4-21, and 4-22); 4-25; ECF No.

               22; and the parties’ Joint Submission of Proposed Redactions.

        It is further ORDERED that the parties shall filed proposed redactions of the

  transcript of the TRO Hearing, on the docket as ECF No. 18, on or before May 11,

  2020. The redacted TRO Hearing Transcript, including its redacted Oral Order, shall

  serve as the public memorialization of these proceedings. The TRO Hearing

  transcript shall remain under seal pending further order of the Court. SO

  ORDERED.

        Dated: ___________                                ___________________
                                                          Judge Norman K. Moon
